       Case 4:15-cr-00276-KGB          Document 157        Filed 12/17/15     Page 1 of 1




                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 WESTERN DIVISION

UNITED STATES OF AMERICA                                                             PLAINTIFF

v.                               Case No. 4:15-cr-00276 KGB

KHALID S.A. ALKARSH, ET AL.                                                        DEFENDANT

                                            ORDER

       The Court conducted a hearing on December 10, 2015, on the government’s motion for

hearing to inquire into joint representation under Federal Rule of Criminal Procedure 44(c) (Dkt.

No. 6). After thoroughly questioning both defendants Khalid S.A. Alkarsh and Bakil Mohamed

Alquirsh, as well as their attorneys, Mr. Bill James and Mr. Lee Short, the Court is satisfied that

Mr. Alkarsh and Mr. Alquirsh have knowingly and voluntarily waived any conflict of interest in

this matter. Mr. James and Mr. Short will continue to represent Mr. Alkarsh and Mr. Alquirsh.

               SO ORDERED this the 17th day of December, 2015.



                                                     ________________________________
                                                     Kristine G. Baker
                                                     United States District Judge
